                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                  CRIMINAL NO. 1:00CR9


UNITED STATES OF AMERICA                     )
                                             )
                                             )
               VS.                           )              ORDER
                                             )
                                             )
HERBERT KENT HARBISON                        )
                                             )


       THIS MATTER is before the Court on the Defendant’s motion for reconsideration of

the Court’s prior Order of January 25, 2005, denying credit for time spent in prior custody. The

motion is denied.

       The Defendant’s sentence was imposed after a § 5K1.1 motion was granted; therefore, his

claim is erroneous. In addition, the relief Defendant seeks in the instant motion must be brought

in the form of a motion pursuant to 28 U.S.C. § 2255.

       IT IS, THEREFORE, ORDERED that the Defendant’s motion for reconsideration is

hereby DENIED.




    Case 1:00-cr-00009-MR-DLH            Document 592        Filed 05/23/05     Page 1 of 2
                                 2



                        Signed: May 23, 2005




Case 1:00-cr-00009-MR-DLH   Document 592       Filed 05/23/05   Page 2 of 2
